                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )
         v.                                    )   Criminal Action No.
                                               )   10-00027-01-CR-W-ODS
MICHAEL K. SCOTT,                              )
                                               )
                      Defendant.               )

                 MEMORANDUM OF MATTERS DISCUSSED AND
                 ACTION TAKEN AT PRETRIAL CONFERENCE

        Pursuant to the order of the Court en banc of the United States District Court for the

Western District of Missouri, a pretrial conference was held in the above-entitled cause

before me on December 21, 2011. Defendant Scott appeared in person and with appointed

counsel John Picerno. The United States of America appeared by Assistant United States

Attorneys Bruce Clark and Joseph Vanover.

I.      BACKGROUND

        On February 3, 2010, an indictment was returned containing the following charges

against Defendant: (1) Count One - Bank Robbery, in violation of 18 U.S.C. § 2113(a), (d);

(2) Count Two - Use of a Firearm During a Crime of Violence, in violation of 18 U.S.C. §

924(c) and 2; (3) Count Three - Bank Robbery, in violation of 18 U.S.C. § 2113(a), (d); (4)

Count Four - Use of a Firearm During a Crime of Violence, in violation of 18 U.S.C. §924(c)

and 2; (5) Count Five - Bank Robbery, in violation of 18 U.S.C. § 2113(a),(d); (6) Count Six

- Use of a Firearm During a Crime of Violence, in violation of 18 U.S.C. § 924(c); and (7)




     Case 4:10-cr-00027-DGK         Document 197         Filed 12/22/11      Page 1 of 4
Count Seven - Felon in Possession of a Firearm, in violation of 18 U.S.C. §§ 922(g)(1),

924(e).

          The following matters were discussed and action taken during the pretrial conference.

II.       TRIAL COUNSEL

          Mr. Clark announced that he and Mr. Vanover will be the trial counsel for the

government. The case agent to be seated at counsel table are FBI Special Agent Leena

Ramana and Kansas City Police Department Detective Joe Daneff.

          Mr. Picerno announced that he will be the trial counsel for Defendant Scott.

III.      OUTSTANDING MOTIONS

          The following motions remain pending:

          C      Motion for Attorney-Conducted Voir Dire (Doc. No. 148);
          C      Motion in Limine to Exclude Evidence Pursuant to Federal Rules of
                 Evidence 401, 402 and 403 (Doc. No. 149);
          C      Motion in Limine to Preclude the Government from Offering Evidence of
                 Other Crimes and/or Prior Convictions and Incarcerations Pursuant to
                 Rule 404(b) (Doc. No. 150); and
          C      Motion to Invoke the Witness Rule Prior to Voir Dire, Prohibit Witnesses
                 from Conversing, and to Prohibit the United States Attorney from
                 Advising Witnesses of Previous Testimony (Doc. No. 151).

IV.       TRIAL WITNESSES

          Mr. Clark announced that the government intends to call 60 witnesses without

stipulations or 59 witnesses with stipulations during the trial.

          Mr. Picerno announced that Defendant Scott intends to call 2-3 witnesses during the

trial. Defendant Scott may testify.



                                               2




      Case 4:10-cr-00027-DGK          Document 197        Filed 12/22/11      Page 2 of 4
V.        TRIAL EXHIBITS

          Mr. Clark announced that the government will offer approximately 350 exhibits in

evidence during the trial.

          Mr. Picerno announced that Defendant Scott will not offer any exhibits in evidence

during the trial.

VI.       DEFENSES

          Mr. Picerno announced that Defendant Scott will rely on the defense of general

denial.

VII.      POSSIBLE DISPOSITION

          Mr. Picerno stated this case is definitely for trial.

VIII. STIPULATIONS

          Stipulations are likely as to Defendant’s prior felony conviction.

IX.       TRIAL TIME

          Counsel were in agreement that this case will take 7-8 days to try.

X.        EXHIBIT LIST, VOIR DIRE AND INSTRUCTIONS

          The U. S. Magistrate Judge ordered:

          That, in addition to the requirements of the Stipulations and Orders filed July 26,
          2010, counsel for each party file and serve a list of exhibits he intends to offer in
          evidence at the trial of this case on the form entitled Exhibit Index and have all
          available exhibits premarked using the stickers provided by the Clerk of Court by or
          before December 21, 2011;

          That counsel for each party file and serve requested jury voir dire examination
          questions by or before noon, January 4, 2012;


                                                 3




     Case 4:10-cr-00027-DGK            Document 197          Filed 12/22/11     Page 3 of 4
          That counsel for each party file and serve, in accordance with the requirements of
          Local Rule 51.1, requested jury instructions by or before noon, January 4, 2012.
          Counsel are requested to provide proposed jury instructions in both hard copy form,
          as required by Local Rule 51.1, and by e-mail to the trial judge’s courtroom deputy.

XI.       UNUSUAL QUESTIONS OF LAW

          Motions in limine have been filed, as listed above. There are no unusual questions

of law.

XII.      TRIAL SETTING

          All counsel and the defendants were informed that this case will be listed for trial on

before Judge Laughrey on January 9, 2012.



                                                  /s/ Robert E. Larsen
                                                 ROBERT E. LARSEN
                                                 United States Magistrate Judge

Kansas City, Missouri
December 21, 2011

cc:       Mr. Kevin Lyon




                                                4




      Case 4:10-cr-00027-DGK           Document 197        Filed 12/22/11       Page 4 of 4
